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                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

ALEX A., by and through his guardian,
MOLLY SMITH, individually and on behalf
of all others similarly situated CIVIL ACTION

VERSUS 22-573-SDD-RLB

GOVERNOR JON BEL EDWARDS,
in his official capacity as Governor of Louisiana;
WILLIAM SOMMERS, in his official
capacity as Deputy Secretary of the
Office of Juvenile Justice,
JAMES M. LEBLANC, in his official capacity
 as Secretary of the Louisiana Department
of Public Safety & Corrections

                                          RULING

        The Court has carefully considered the record, the law applicable to this action,

and the Report and Recommendation^ of United States Magistrate Richard L. Bourgeois,

Jr. dated March 28, 2023, the Plaintiffs' Objection,2 the Defendants' Response,3 and the

Plaintiffs' Reply.4 The Court has undertaken a de novo review and adopts the Magistrate

Judge's Report and Recommendation.

        Plaintiffs seek access to four non-party juveniles who are in the custody of the OJJ.

The Court notes that Plaintiffs' counsel's letter to OJJ to schedule meetings with the four

non-party youth detainees5 is not a letter of representation. The subject youth are not

clients of Plaintiffs' counsel merely by virtue of their being putative class members. Hence,




1 Rec. Doc. 143.
2 Rec. Doc. 147.
3 Rec. Doc. 149.
4Rec. Doc. 158.
5Rec. Doc. 113-4.
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the Court is not presented with a situation where an attorney has been denied access to

or an opportunity to meet with his/her client.

       The argument that the named Plaintiffs, Alex A., et al., are injured by OJJ's refusal

to grant access to other "similarly situated" youth is subterfuge for saying that the Plaintiffs

are injured by the inability of Plaintiffs' counsel to conduct discovery. Because the non-

parties are in OJJ custody, the Plaintiffs must seek access to them. However, discovery

is stayed,6 and as juveniles in State detention, Plaintiffs are impeded from simply

interviewing these non-parties. This does not present a claim of unconstitutional denial of

access to counsel. For the reasons articulated by Magistrate Judge Bourgeois, the

Plaintiffs lack standing to urge the subject Motion for Access to Counsel.7

       The Court hereby approves the Report and Recommendation of the Magistrate

Judge and adopts it as the Court's opinion herein.

       ACCORDINGLY,

       IT IS ORDERED that Plaintiffs' Motion for Access to Counsel8 is DENIED.

       Signed in Baton Rouge, Louisiana, on this O'^ay of July, 2023.




                                                              ^L/J^C^
                                       CHIEF JUDGE/SKELLY D. DICK
                                       UNITED STATK DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA




6Rec. Doc. 118.
7Rec. Doc. 113.
8Rec. Doc. 113.
